






NO. 07-04-0520-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL A



NOVEMBER 2, 2005



______________________________


			

CITY OF BORGER, APPELLANT



V.



SOUTHERN INSURANCE COMPANY A/S/O MAXINE STULLER, APPELLEE



_________________________________



FROM THE 84TH DISTRICT COURT OF HUTCHINSON COUNTY;



NO. 35,437; HONORABLE WILLIAM SMITH, JUDGE


_______________________________




Before REAVIS and CAMPBELL, JJ. (1)

ON MOTION FOR REHEARING


	The motion for rehearing filed by appellant City of Borger is overruled.  Our opinion
of August 26, 2005 in this appeal is withdrawn, and the following is substituted as the
opinion of the Court.

	The City of Borger brings this interlocutory appeal from the denial of its plea to the
jurisdiction on the basis of sovereign immunity in a suit for property damage resulting from
demolition of a building.  We will affirm.

	In August 1999, the City of Borger building official determined that a building located
on Main Street in Borger fell below the city's building code in several respects and was
beyond repair.  In July 2000, an architect issued his opinion the building was beyond repair
and that it could be demolished without damaging the adjacent building.  The City, a home-rule municipality, made a decision to demolish the building.  It hired Howell Sand
Company, Inc. (HSCI) to perform the demolition and notified the owner of the adjacent
building, Maxine Stuller, of the proposed demolition. 

	HSCI demolished the building in early May 2001.  The City's primary involvement
in the demolition was removal of debris and delivering dirt to fill a basement.  All other work
was performed by HSCI.  Stuller asserted the demolition caused damage to her building. 
Southern Insurance Company paid a claim for that damage and brought suit against the
City as subrogee of Stuller.  Southern's live petition alleges the City owned the demolished
building, and alleges the demolition was a proprietary function of the City. 

	The City answered and filed special exceptions, arguing Southern failed to allege
facts demonstrating the court's jurisdiction and failed to plead facts supporting waiver of
sovereign immunity, and a plea to the jurisdiction reasserting its claim of sovereign
immunity.  The City now appeals from the trial court's denial of that plea. See Tex. Civ.
Prac. &amp; Rem. Code Ann. § 51.014(a)(5) (Vernon Supp. 2005). 

	The City presents six arguments in support of its single issue challenging denial of
its plea to the jurisdiction.  The first and fifth arguments discuss whether the City was
performing a governmental function.  The remaining arguments concern waiver of
sovereign immunity and Southern's taking claim under the Texas Constitution. 

	A plaintiff bears the burden to allege facts affirmatively demonstrating the trial
court's jurisdiction.  Texas Ass'n of Business v. Texas Air Control Bd., 852 S.W.2d 440,
446 (Tex. 1993).  When considering whether the plaintiff has done so, we are to construe
the pleadings liberally in the plaintiff's favor.  Texas Dep't of Parks and Wildlife v. Miranda,
133 S.W.3d 217, 226 (Tex. 2004). Courts deciding pleas to the jurisdiction are not required
to look solely to the pleadings but may consider evidence and must do so when necessary
to resolve the jurisdictional issues raised.  Bland Indep. Sch. Dist. v. Blue, 34 S.W.3d 547,
555 (Tex. 2000).  When jurisdictional facts are undisputed a trial court's jurisdiction is a
question of law.  Miranda, 133 S.W.3d at 226.    

	As political subdivisions of the state, municipalities enjoy governmental immunity
when exercising governmental functions.  City of Tyler v. Likes, 962 S.W.2d 489, 501 (Tex.
1997); City of San Antonio v. Butler, 131 S.W.3d 170, 177-78 (Tex.App.-San Antonio
2004, pet. filed); City of Lubbock v. Adams, 149 S.W.3d 820, 823 (Tex.App.-Amarillo
2004, pet. filed).  Since 1987 the legislature has delineated those governmental functions
affording immunity and the proprietary functions of a municipality for which it does not have
immunity.  See Tex. Civ. Prac. &amp; Rem. Code Ann. § 101.0215 (Vernon 2005).  Subsection
(a) of Section 101.0215 defines governmental functions as including those "enjoined on
a municipality by law" to be exercised in the interest of the general public, and lists thirty-six
specific functions as governmental. Id.  Subsection (b) describes proprietary functions as
"those functions that a municipality may, in its discretion, perform in the interest of the
inhabitants of the municipality," listing examples of public utilities, amusements, and
abnormally dangerous or ultrahazardous activities.  Id.  	

	The City presented evidence in support of its plea to the jurisdiction, and relies
primarily on the affidavit of its building official Larry Mullenix, which states that he inspected
the building and determined it was in a deteriorated condition and failed to comply with the
current building code.  The affidavit further states, "As a result of my opinion that the
Building was unsafe and could not be repaired to meet building code standards, the City
chose to demolish the Building."  	

	Southern's allegation that the City owned the demolished building is supported by
an affidavit from Stuller.  The City has not contradicted the contention. (2)  Its evidence does
not address the ownership of the demolished building.  Mullenix's affidavit refers to it
simply as "the building located at 325 N. Main."  The building apparently was unoccupied,
and its function is not addressed in the record.  

	The City contends the undisputed evidence establishes its demolition of the building
was the exercise of a governmental function.  Southern argues the evidence shows the
City was engaged in a proprietary function.  We disagree with both positions, concluding
the record developed thus far does not permit resolution as a matter of law of the
jurisdictional issues raised, and so affirm the trial court's denial of the City's plea to the
jurisdiction.  	

	The City argues that the supervision of the construction, maintenance and repair of
buildings comes within the city's police power delegated by the state, citing City of Tyler
v. Ingram, 164 S.W.2d 516, 519 (Tex. 1942).  The argument is too broad.  Ingram dealt
with temporary bleachers erected in a city park by a private party for an event sponsored
by that party.  Id. at 519.  Ingram does not support a contention that every such action
taken by a municipality relating to a building is governmental conduct, (3) regardless of the
building's ownership or use.  

	The City also argues the evidence demonstrates that its demolition of the building
constituted the exercise of the functions of health and sanitation services or building codes
and inspections.  Tex. Civ. Prac. &amp; Rem. Code Ann. §§ 101.0215(a)(2), (28) (Vernon
2005).  On this record, we cannot agree that the City's demolition of the building
reasonably can be characterized as exercising either of those functions. (4)  

	The City refers also to the statutory authority given home-rule municipalities to
define and prohibit nuisances, and to enforce ordinances necessary to the prevention and
abatement of nuisances, as showing it was performing functions enjoined on it by law,
citing Tex. Loc. Gov't Code Ann. §§ 217.041-.042 (Vernon 2002).   We similarly find the
evidence presented thus far insufficient to demonstrate that the City's actions were
encompassed within a governmental function relating to abatement of nuisances. (5)

	By Section 101.0215 the legislature has defined almost all the functions of a
municipality as governmental.  Edinburg Hosp. Auth. v. Trevino, 941 S.W.2d 76, 83 (Tex.
1997) (Hecht, J., concurring).  See also Butler, 131 S.W.3d at 177-78; Mitchell v. City of
Dallas, 855 S.W.2d 741, 744 (Tex.App.-Dallas 1993), aff'd, 870 S.W.2d 21 (Tex. 1994)
(rejecting narrow application of listed governmental functions).  Further development of the
facts may demonstrate that the damages claimed arise from a governmental function of
the City.  See Spindletop MHMR v. Doe, 54 S.W.3d 893, 895-96 (Tex.App.-Beaumont
2001 pet. denied) (pointing out state agency could reassert immunity defense if evidence
later demonstrated that under "specific facts" of case, sovereign immunity was not waived). 
See also Miranda, 133 S.W.3d at 227-28 (discussing timing of jurisdictional determination). 
Based on the record before us, though, we find the trial court did not err in denying the
City's plea to the jurisdiction. (6)  We overrule the City's sole issue, affirm the trial court's
order and remand the case to the trial court for further proceedings. 

							

							James T. Campbell

							        Justice




	

1.  Former Chief Justice Phil Johnson was on the panel that heard oral argument. 
He did not participate in the decision.  Tex. R. App. P. 41.1(b).
2.  If the City owned the building, it apparently had not always done so.  The record
contains a letter from Mullenix to Stuller referring to the building as the Johnson Bakery
Building.  That letter and Mullenix's affidavit also refer to the presence of an oven in the
building.   
3.  The facts here are thus to be distinguished from those presented in City of Pampa
v. Pampa Properties Corp., No. 07-00-0407-CV, 2001 WL 55623 (Tex.App.-Amarillo
January 21, 2001, no writ).  There, the plaintiff's damages arose from street construction,
a listed governmental function. See Tex. Civ. Prac. &amp; Rem. Code Ann.
§101.0215(a)(3)(Vernon 2005).
4.  The present state of the record, for instance, does not permit consideration of how
the City's decision to demolish an unsafe building that could not be repaired to meeting
building code standards differed from a similar decision by any other premises owner, if
indeed the City was the premises owner in this case.  
5.  Again, Southern's evidence the City owned the demolished building suggests that
any nuisance maintained there may have been maintained by the City.  The City does not
cite us to authority holding that abatement by a city of a nuisance also maintained by a city
is a governmental function as a matter of law. 
6.  The City's plea to the jurisdiction dealt also with the taking claim Southern alleged
under the Texas Constitution based on the damage to Stuller's property.  Tex. Const. art
I, § 17; Steele v. City of Houston, 603 S.W.2d 786 (Tex. 1980).  Our affirmance of the trial
court's denial of the City's plea to the jurisdiction with respect to Southern's negligence
claim makes it unnecessary for us to address the trial court's jurisdiction over the taking
claim, and we express no opinion on the validity of the plea to the jurisdiction as addressed
to that claim. 


span style="font-size: 12pt"&gt;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Manion offers no evidence as to why the production of his financial documents are
privileged or exempted from discovery.  Instead, he points to the pleadings to support his
claims that production of his financial records violate his right to privacy and are
confidential, unrelated in time to the underlying litigation, and irrelevant to the claims in the
suit.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The general rule in financial records production cases is that the party attempting
to prevent or restrict discovery has the burden of pleading and proving the basis for the
desired limitation.  In re Patel, 218 S.W.3d 911, 915 (Tex.App.–Corpus Christi 2007, orig.
proceeding) (citing Peeples v. Honorable Fourth Supreme Judicial Dist., 701 S.W.2d 635,
637 (Tex. 1985) (orig. proceeding)); Kern v. Gleason, 840 S.W.2d 730, 735-37
(Tex.App.–Amarillo 1992, orig. proceeding).  Absent a privilege or specific exception, a
party is entitled to discover any relevant material.  Id. at 736.  There are no presumptions
of privilege.  El Centro Del Barrio, Inc. v. Barlow, 894 S.W.2d 775, 778-79 (Tex.App.–San
Antonio 1994, no writ).  Manion cites no authority in support of an asserted constitutional
right to privacy, and it has previously been determined there is no constitutionally protected
privacy right in one’s personal financial records.  Martin v. Darnell, 960 S.W.2d 838, 844-45
(Tex.App.–Amarillo 1997, no writ); Miller v. O’Neill, 775 S.W.2d 56, 59 (Tex.App.–Houston
[1st Dist.] 1989, no writ) (“[T]he supreme court has allowed such discovery, despite the
inevitable intrusion.”).  Moreover, counsel’s conclusory assertions alone fail to establish
that Manion’s financial documents may not be produced because they are confidential or
privileged.  Kern, 840 S.W.2d at 734 (statements of counsel are not evidence). 
Accordingly, the record contains no evidence on which to exclude the documents from
discovery because they are confidential or privileged.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Manion also bears the burden of proving that Freeman’s requests were overbroad,
i.e. unrelated in time to the litigation.  Miller, 775 S.W.2d at 59.  Freeman’s amended
petition alleges, among other things, that Manion breached fiduciary duties by using his
position as Stallion Manager to undercut sales of  the syndicate’s breeding contracts and
Freeman’s commercial relationship with his customers in order to increase Manion’s profit
from his breeding operations.  Freeman also alleges Manion served as Stallion Manager
from 1983 until the present.  Therefore, the record does not support a conclusion that the
trial court abused its discretion by ordering the discovery of Manion’s financial documents
from 2000 to the present. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Manion’s financial documents are also relevant to Freeman’s underlying action. 
Freeman’s third amended petition alleges Manion misused his position as a Stallion
Manager for financial gain in violation of his fiduciary duties.  Consequently, Manion’s
financial information for the period he served as Stallion Manager is relevant and
discoverable.  See generally El Centro, 894 S.W.2d at 781-82.  Once again, the record
fails to establish any basis on which to exclude these documents from discovery.


 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;CONCLUSION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Having determined that the trial court did not abuse its discretion in ordering
discovery, we deny mandamus relief, vacate our stay order, and declare Freeman’s
Emergency Motion for Stay of Underlying Proceedings filed September 5, 2008, moot.
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Patrick A. Pirtle

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 

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